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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

EBONY COLLINS,                        §
Plaintiff                             §
                                      §      CIVIL ACTION NO.
vs.                                   §
                                      §      Jury Trial Demanded
GC SERVICES, LP,                      §
Defendant                             §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                NATURE OF ACTION

      1.    This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.    Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.

      3.    Service may be made upon Defendant in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).
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                             JURISDICTION AND VENUE

       4.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                     PARTIES

       6.     Plaintiff, Ebony Collins (“Plaintiff”), is a natural person residing in

Harris County.

       7.     Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.     Defendant, GC Services, LP (“Defendant”) is an entity who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5)

and by Tex. Fin. Code Ann. § 392.001(6).

       9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

and by Tex. Fin. Code Ann. § 392.001(2).
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                           FACTUAL ALLEGATIONS

      10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.    In connection with collection of an alleged debt in default, Defendant

called Plaintiff’s place of employment on or about October 1, 2010, and at such

time, Defendant threatened to begin garnishing Plaintiff’s paycheck and assess

Plaintiff $25,000.00 in fees unless Plaintiff agreed to pay Defendant $900.00 per

month.

      14.    Defendant further told Plaintiff that Defendant already spoke with

Plaintiff’s employer regarding the threatened garnishment.
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      15.    Plaintiff asked Defendant to call her back that evening to discuss the

payment plan further.

      16.    That evening, Defendant called Plaintiff, and at such time, Plaintiff

explained to Defendant that Plaintiff only earns $1,000.00 per month and was

unable to afford a $900.00 per month payment plan.

      17.    Defendant told Plaintiff that it would only accept $900.00 per month

and would assess $25,000.00 in fees and begin garnishing Plaintiff’s paycheck the

next day unless Plaintiff agreed to said monthly payment.

      18.    Reluctantly, Plaintiff agreed to the payment plan.

      19.    Upon information and good-faith belief, Defendant never sent

Plaintiff any written communication regarding the payment arrangement entered

into between Plaintiff and Defendant.

      20.    Defendant began automatically withdrawing $900.00 per month from

Plaintiff’s bank account on October 30, 2011.

      21.    Defendant never sent Plaintiff notice in writing of Defendant’s intent

to automatically withdraw funds from Plaintiff’s bank account.

      22.    Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant’s above violations of the FDCPA,

Defendant is liable to Plaintiff for Plaintiff’s actual damages, statutory damages,

and costs and attorney’s fees.
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                                COUNT I--FDCPA

     23.      Plaintiff repeats and re-alleges each and every allegation contained

above.

     24.      Defendant’s aforementioned conduct violated the FDCPA as follows:

           a. Falsely representing the character, amount, or legal status of

              Plaintiff’s debt. (15 U.S.C. § 1692e(2)(A));

           b. Using false representations and deceptive practices in connection with

              collection of an alleged debt from Plaintiff. (15 U.S.C. § 1692e(10));

              and,

           c. Failing to notify Plaintiff in writing not more than ten nor less than

              three days before depositing a post-dated check that was post-dated by

              more than 5 days (15 U.S.C. § 1692f(2)).

     WHEREFORE, Plaintiff prays for relief and judgment, as follows:

           a) Adjudging that Defendant violated the FDCPA;

           b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

              in the amount of $1,000.00;

           c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

           d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

              this action;
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      e) Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law;

      f) Awarding such other and further relief as the Court may deem just and

         proper.

                            COUNT II--TDCPA

25.      Plaintiff repeats and re-alleges each and every allegation above.

26.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the following ways:

      a. Misrepresenting the character, extent, or amount of a consumer debt,

         or misrepresenting the consumer debt's status in a judicial or

         governmental proceeding. (Tex. Fin. Code § 392.304(a)(8));

      b. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer. (Tex. Fin. Code §

         392.304(a)(19)).

      c. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer, including (Tex Fin Code §

         392.304(a)(19)).

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      a) Adjudging that Defendant violated the TDCPA;

      b) Awarding Plaintiff statutory damages pursuant to the TDCPA;
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            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                 COUNT III—DTPA

      27.      Plaintiff repeats and re-alleges each and every allegation by reference

herein all prior paragraphs above.

      28.      A violation of the Texas Debt Collection Practices Act is a is a

deceptive trade practice under the Texas Deceptive Trade Practices Act, and is

actionable under the Texas Deceptive Trade Practices Act. Tex. Fin. Code. Ann. §

392.404(a)

      29.      Defendant violated Tex. Bus. Com. Code § 17.50(h).

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the Texas Deceptive Trade

               Practices Act, Tex. Bus. Com. Code, Chapter 17, Subchapter E.

            b) Awarding Plaintiff actual damages, pursuant to Tex. Bus. Com. Code

               § 17.50(h);
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          c) Awarding Plaintiff three times actual damages, pursuant to Tex. Bus.

             Com. Code § 17.50(h).

          d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

             this action;

          e) Awarding Plaintiff any pre-judgment and post-judgment interest as

             may be allowed under the law;

          f) Awarding such other and further relief as the Court may deem just and

             proper.

                                 TRIAL BY JURY

    30.      Plaintiff is entitled to and hereby demands a trial by jury.

                                              Respectfully submitted,


                                              By: /s/ Dennis R. Kurz
                                              Dennis R. Kurz
                                              Texas State Bar # 24068183
                                              Southern District Bar No. 1045205
                                              Attorney in Charge for Plaintiff

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                         CERTIFICATE OF SERVICE


I certify that on September 30, 2011, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Southern District of Texas, Houston
Division, using the electronic case filing system of the court.


                                                          /s/ Dennis R. Kurz
                                                          Dennis R. Kurz
